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      United States District Court, Eastern District of Washington
                               Magistrate Judge James A. Goeke
                                         Sacramento

 USA v. KENNETH RICHARD                                         Case No. 2:13-CR-6070-SAB-1
 ROWELL

      Yakima Video Conference (JAG @ Sacramento; Counsel and Defendant @ Yakima)
                    Defendant consented to appear via video conference

 Initial Appearance on Supervised Release Petition:                                               07/23/2024

 ☒ Melissa Orosco, Courtroom Deputy [S]                 ☒ Brandon Pang, US Atty [R]
 ☒ Ruby Mendoza, Courtroom Deputy [Y]                   ☒ Juliana Van Wingerden, Defense Atty [Y]
 ☒ Kyle Mowatt, US Probation / Pretrial                 ☒ Interpreter NOT REQUIRED
   Services Officer [Y]
 ☒ Defendant present ☒in custody USM [Y]


 ☒    USA Motion for Detention                              ☒   Rights given
 ☐    USA not seeking detention                             ☒   Acknowledgment of Rights filed
 ☐    Financial Affidavit (CJA 23) filed                    ☒   Defendant received copy of violation petition
 ☐    The Court will appoint the Federal Defenders          ☐   Defendant waived reading of petition
 ☐    Based upon conflict with Federal Defenders, the       ☐   Petition reviewed in open court
      Court will appoint a CJA Panel Attorney
 ☐    Conditions of Release Imposed                         ☐   Supplemental Pre-Trial Services Report ordered
 ☐    Conditions of Release as Previously Imposed           ☒   The Court ordered continued representation of
                                                                previously appointed counsel with the additional
                                                                Petition(s)
 ☐    AO 199C Advice of Penalties/Sanctions

                                               REMARKS
         Defendant appeared, in custody, with counsel and acknowledged to the Court that his true and
correct name is KENNETH RICHARD ROWELL.
        Defendant was advised of his rights and the allegations contained in the violation petition (ECF
No. 101). Defendant was previously advised on violations 1-8.
        A denial of the violations pending on the petition is entered on behalf of Defendant.

        Counsel has been appointed to represent Defendant and that appointment is confirmed.

        Detention previously addressed and issue not before the Court.

         Defendant waived preliminary and detention hearings as revocation hearing immediately follows
this hearing.

The Court ordered:
        1. Defendant shall remain detained by the U. S. Marshal until further order of the Court.

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Detention Hrg on Petition: Preliminary Hrg:                  CURRENTLY SET
Waived by Defendant;       Waived by Defendant               Revocation Hrg:
USA’s Motion for Detention                                   07/23/2024
is granted.                                                  @ 9:30 a.m. [Y/SAB]




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